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                                                                          U. S. DISTRICT COURT
                                                                          Southern District of Ga.
                                                                                Filed in Office
                           UNITED STATES DISTRICT COURT                                         M
                       FOR THE SOUTHERN DISTRICT OF GEOI?4i                                   21_
                                WAYCROSS DIVISION                   -..



                                                                               Deputy C'erk

UNITED STATES OF AMERICA                           )
                                                   )



        VS.                                        )         CR5 13-00003-3
                                                   )



Justin Deen                                        )

                                ORDER TO MODIFY THE
                          CONDITIONS OF SUPERVISED RELEASE

       On July 9, 2013, the defendant, Justin Deen, appeared before the Court and was

sentenced to sixteen (16) months imprisonment to be followed by three (3) years supervised

release for the offense of conspiracy to receive and utter stolen U.S. Treasury checks, in violation

of 18 U.S.C. § 371.

       On September 22, 2014, the Court modified the conditions of supervised release to

include a curfew after the defendant submitted a urine specimen which tested positive for

marihuana.

       On March 30, 2015, the defendant, represented by Attorney Johnny W. Brantley,

appeared for a revocation hearing after the United States Probation Office filed petitions alleging

he had violated the terms and conditions of his supervised release by testing positive for

controlled substances on six (6) separate occasions and failing to abide by his curfew.

Furthermore, on the same day, the defendant tested positive for a seventh time. The Court, after

hearing testimony, made findings on the record that the defendant had violated the terms and

conditions of his supervised release.

       The Court, after having reviewed and considered the revocation policy statements

developed by the United States Sentencing Commission, orders the conditions of the defendant's
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supervised release be modified to include that the defendant must remain at the New Hope

Recovery Center in Douglas, Georgia, until the probation officer grants approval for his

discharge from the home. Additionally, the defendant is to submit to at least one drug test every

two (2) weeks and all urine screen submissions must return negative results.

        All other mandatory, standard, and special conditions of supervised release previously

imposed on July 9, 2013, and subsequently modified on September 22, 2014, shall remain in full

force and effect.
                             2' ,w
        SO ORDERED this       '-   day of April 2015.



                                                           44..09-;~
                                                    William T. Moor
                                                    Judge, U.S. District Court


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                                                    Date
